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                                 CERTIFICATE OF SERVICE

                I, John H. Schanne, II, hereby certify that on the 7th day of March, 2016, I caused

the foregoing First and Final Application of PJT Partners Inc. as Investment Banker to the

Official Committee of Unsecured Creditors for Allowance of Compensation for Necessary

Services Rendered and for the Reimbursement of All Actual and Necessary Expenses

Incurred for the Period September 29, 2015 through January 29, 2016 to be served upon the

parties on the attached service list via first-class mail, postage prepaid.




                                                        /s/ John H. Schanne, II
                                                       John H. Schanne, II (DE No. 5260)




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